                  IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                            MIDDLE DISTRICT OF TENNESSEE

                                                   )
IN RE:                                             )
                                                   )   Chapter 13 Proceeding
ANDY LAMAR ALLMAN,                                 )   Case No.17-03085
SS#: XXX-XX-8498                                   )   HON. CHARLES WALKER, Judge
639 BONITA PARKWAY                                 )
HENDERSONVILLE, TN 37075                           )
                                                   )
       Debtor.                                     )
                                                   )

 OBJECTION TO DEBTOR’S MOTION TO VOLUNTARILY DISMISS CHAPTER 13
         BANKRUPTCY AND REQUEST FOR HEARING THEREON

         Comes the unscheduled Creditor Igne Goodson, through counsel, and hereby objects to the

Debtor’s Motion to Voluntarily Dismiss Chapter 13 Bankruptcy, filed June 29, 2017 (Docket Entry

No. 13) and, further, requests a hearing thereon. In support, it shall be shown unto the Court that the

Debtor’s case is being dismissed in bad faith and is part of an ongoing scheme to hinder, delay, and

defraud his creditors and to further deny them due process under the law. Ms. Goodson, through her

attorneys has filed a motion to convert the instant case to Chapter 7 and said motion has been joined

by the Chapter 13 Trustee.

                 Section1307(c) provides that a chapter 13 case may be converted to a case under

chapter 7 upon request of the United States Trustee or party in interest for “cause” after notice

and a hearing. It is believed that fraud was committed in this case both before and after the

bankruptcy case was filed by the Debtor and that this fraud demonstrates the bad faith of the

Debtor in filing the bankruptcy case and failing to fill out forms and schedules or even inform

his creditors of the Bankruptcy filing. It is also clear that such fraud/bad faith constitutes cause

for conversion under section 1307(c). In re Molitor, 76 F.3d 218, 220 – 221 (8th Cir. 1996); In




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re Caola, 422 B.R. 13 (Bankr. D.NJ 2010).


       The larger question is whether a chapter 13 case may be converted under section 1307(c)

after a voluntary motion to dismiss has been filed by the Debtor. In 2007, the Supreme Court of

the United States decided the case of Marrama v. Citizens Bank of Massachusetts, 549 U.S.

365 (2007). Marrama was a chapter 7 bankruptcy, rather than a chapter 13 case, as here. In

Marrama, the debtor filed inaccurate chapter 7 schedules and statements which omitted

information regarding the true value of an asset that the debtor had transferred to a trust for

which he was the sole beneficiary. Marrama, 549 U.S. at 368. The debtor admitted that he

made the transfer to shield the property from creditors. The debtor sought to convert his

chapter 7 case to chapter 13 after the chapter 7 trustee indicated his intention to liquidate the

concealed asset. The chapter 7 trustee and the principal creditor in the case opposed the

debtor's motion on the basis that the request to convert was made in bad faith and would

constitute an abuse of the bankruptcy process. The bankruptcy court denied the debtor's motion

to convert. The Supreme Court affirmed, concluding that the debtor's bad-faith conduct during

the debtor's chapter 7 case justified denial of the debtor's motion to convert. The Court held

that a debtor who acts in bad faith is not eligible for chapter 13 relief, and conversion to

chapter 13 is inappropriate where a debtor is ineligible for relief under that chapter. Id. at

373-74.

       In reaching its conclusions, the Supreme Court examined the legislative history as well

as the content of sections 105(a), I 09(e), 706 and, directly relevant to this appeal, 1307(c).

The Court held that a debtor does not have an absolute right to convert his case under section

706(a) - despite legislative history which states that "Subsection (a) of this section gives the




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debtor the one-time absolute right, of conversion of the liquidation case to a reorganization or

an individual repayment plan case." Id. at 371 (citing S. Rep. No. 95-989, p. 94 ( 1978), U.S.

Code Cong. & Admin. News 1978, pp. 5787, 5880, and H.R. Rep. No. 95-595, p. 380 (1977),

U.S . Code Cong. & Admin. News 1978, pp. 5963, 6336) (emphasis added). The Supreme

Court read 11 U.S.C. § 1307(c), which allows dismissal of bad faith cases, to mean that bad

faith debtors cannot obtain chapter 13 relief. Because they are not eligible for chapter 13 relief,

bad faith debtors cannot exercise their right under section 706(a) to convert to chapter

13. Id. The Marrama Court opined that "[n]othing in the text of either § 706 or § 1307(c) (or

the legislative history of either provision) limits the authority of the court to take appropriate

action in response to fraudulent conduct by the atypical litigant who has demonstrated that he

is not entitled to the relief available to the typical debtor." Id at 374-75.


           Although the question presented in Marrama was whether a chapter 7 debtor has an

   absolute right under 11 U.S.C. § 706(a) to convert his chapter 7 case, after Marrama, courts

   have considered whether a chapter 13 debtor still has an "absolute" right to dismiss under 11


   U.S.C. § 1307(b). The United States Bankruptcy Court for the Eastern District of New York

   has concluded that the Second Circuit 's decision in Barbieri, 199 F. 3d at 620 -which

   held that a chapter 13 debtor 's section 1307(b) right to dismiss is absolute – is no longer

   good law. See In re Armstrong, 408 B.R. 559, 569 (Bankr. E.D.N.Y.) (holding that

   Barbieri "is no longer good law"), modified, 409 B.R. 629 (Bankr. E.D.N.Y. 2009) (holding

   that debtor's misconduct did not rise to the level of "bad faith" and granti.ng motion to

   voluntarily dismiss). Other bankruptcy courts have reached a similar conclusion. See In re

   Caola, 422 B.R. 13, 18 (Bankr. D.N.J. 2010) (noting the court is now "unshackled " from


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   pre-Marrama precedent, "such as Barbieri ").


       The Fifth and Ninth Circuits have also concluded that, in the wake of Marrama, a

debtor's right to voluntary dismissal under 11 U.S.C. § 1307(b) is not absolute, but is qualified


by the authority of a bankruptcy court to deny dismissal on grounds of bad-faith conduct. See

Jacobsen v. Moser (In re Jacobsen), 609 F.3d 647, 660 (5th Cir. 2010) ("Following the

Supreme Court's decision in Marrama, we hold that a bankruptcy court has the discretion to

grant a pending motion to convert for cause under § 1307(c) where the debtor has acted in bad

faith or abused the bankruptcy process and requested dismissal under § 1307(b) in response to

the motion to convert."); In re Rosson, 545 F.3d 764, 773-74 (9th Cir. 2008) ("we conclude

that the [Supreme] Court's rejection of the 'absolute right' theory as to § 706(a) applies equally

to § 1307(b). Therefore, in light of Marrama, we hold that the debtor's right of voluntary

dismissal under § 1307(b) is not absolute, but is qualified by the authority of a bankruptcy

court to deny dismissal on grounds of bad-faith conduct or 'to prevent an abuse of process.'").

Accord Wiliamson v. Office of the U.S. Trustee, 414 B.R. 886 (Bankr. S.D. Ga. 2008) aff’d by

Williamson v. Office of U.S. Trustee, 2009 WL 562238 (S.D. Ga. Mar. 04, 2009) (No.

608CV097) (chapter 12 debtor’s case was converted to chapter 7 on basis of fraud despite

pending voluntary motion to dismiss). Not all courts are unanimous on this question, however.

See In re Williams, 435 B.R. 5 5 2 (Bankr. N.D. Ill. 2010) (concluding, post- Marrama, that a

debtor's statutory right to voluntary dismissal under 11 U.S.C. § 1307(b) is absolute and not

limited by judicial discretion).

       Mr. Allman has availed himself to all the rights of a Chapter 13 Debtor, but has assumed

none of the responsibilities. Mr. Allman has also failed to provide proof that he has received an




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individual or group briefing from an approved nonprofit budget and credit counseling agency as

described in 11 U.S.C. § 109(h). As such he may not be eligible to be a Debtor and if he is

not a Debtor, then he does not have the right to seek dismissal of his case under 11 U.S.C.

§ 1307(b).


       WHEREFORE, the Creditor Inge Goodson objects to the Voluntary Dismissal of this case
and prays that this matter be set for hearing.

                                                  Respectfully submitted,

                                                  LEFKOVITZ & LEFKOVITZ

                                                  /S/ STEVEN L. LEFKOVITZ
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                                 CERTIFICATE OF SERVICE

        I hereby certify that I have sent a true and exact copy of the foregoing to Beth Roberts
Derrick, Assistant United States Trustee, Henry E. Hildebrand, III, Chapter 13 Trustee, and all other
parties of record to receive notice electronically via the United States Bankruptcy Court’s CM/ECF
system; this 29th day of June, 2017.

        I further certify that I have sent a true and exact copy of the foregoing to the Debtor, Andy
Lamar Allman, 639 Bonita Parkway, Hendersonville, TN 37075 by U.S. Mail, postage prepaid, this
29th day of June, 2017.

                                                      /S/ STEVEN L. LEFKOVITZ
                                                      Steven L. Lefkovitz




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